Case 2:05-cr-20279-SH|\/| Document 6 Filed 08/22/05 Page 1 of 2 Page|D 9

    

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) t `i*»`*;=iii~is
Plaintiff, ) cR. No. 05-20279-Ma “"’
)
VS. )
)
RoDERch K. leTH, )
)
Defendant. )

ORDER

 

The United States having requested that the Court unseal the indictment, and
the Court being satisfied that sealing is no longer necessary, it is hereby
ORDERED that all of the above document is UNSEALED.

Date:W£lM ;L :_PQOA_/~_\
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This notice confirms a copy of the document docketed as number 6 in
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August 25, 2005 to the parties listed.

 

 

Joseph C. Murphy

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Honorable Samuel Mays
US DISTRICT COURT

